          Case 16-18931-mdc                         Doc 156           Filed 02/14/17 Entered 02/14/17 09:17:45                       Desc Main
                                                                     Document      Page 1 of 7
 Fill in this information to identify the case:

 Debtor name         North Philadelphia Health System

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)         16-18931-mdc
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   Employment
             lease is for and the nature of               Agreement for NPHS
             the debtor's interest                        Chief Medical Officer

                  State the term remaining                August 2017
                                                                                      A. Scott McNeal, D.O.
             List the contract number of any                                          134 Spring Road
                   government contract                                                King of Prussia, PA 19406


 2.2.        State what the contract or                   Lease of security and
             lease is for and the nature of               surveillance systems at
             the debtor's interest                        NPHS facilities

                  State the term remaining                Lease ending                Access Systems Integration
                                                          December 2019               1 Industrial Way W
             List the contract number of any                                          Attn: Andrew Benson, Project Manager
                   government contract                                                Eatontown, NJ 07724


 2.3.        State what the contract or                   Payroll Services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Month to Month
                                                                                      ADP
             List the contract number of any                                          5800 Windard Parkway
                   government contract                                                Alpharetta, GA 30005


 2.4.        State what the contract or                   Printing services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Ending July 31, 2018
                                                                                      AE Litho
             List the contract number of any                                          450 Broad St
                   government contract                                                Beverly, NJ 08010




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 7
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
          Case 16-18931-mdc                          Doc 156            Filed 02/14/17 Entered 02/14/17 09:17:45                Desc Main
                                                                       Document      Page 2 of 7
 Debtor 1 North Philadelphia Health System                                                    Case number (if known)   16-18931-mdc
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.5.        State what the contract or                   Lease of equipment
             lease is for and the nature of               and supplies for
             the debtor's interest                        pharmaceutical dosing

                  State the term remaining                Lease ending March
                                                          2020                        Aeysent Incorporated
             List the contract number of any                                          500 Cranberry Woods
                   government contract                                                Cranberry Twp, PA 16066


 2.6.        State what the contract or                   Insurance brokerage
             lease is for and the nature of               and risk management
             the debtor's interest                        services

                  State the term remaining                Contract ending July 1,     Aon Risk Services
                                                          2018                        One Libert Place
             List the contract number of any                                          1650 Market Street, Suite 100
                   government contract                                                Philadelphia, PA 19103


 2.7.        State what the contract or                   Laboratory services for
             lease is for and the nature of               GMC behavioral
             the debtor's interest                        programs

                  State the term remaining                Ending March 1, 2017
                                                                                      Atlantic Diagnostic Laboratories
             List the contract number of any                                          3520 Progress Drive
                   government contract                                                Bensalem, PA 19020


 2.8.        State what the contract or                   Staffing service for
             lease is for and the nature of               temporary behavioral
             the debtor's interest                        program workers

                  State the term remaining                Month to Month
                                                                                      Axion LLC
             List the contract number of any                                          1430 Broadway
                   government contract                                                New York, NY 10018


 2.9.        State what the contract or                   Laboratory reagent
             lease is for and the nature of               purchase and
             the debtor's interest                        equipment lease for
                                                          closed hospital
                                                          operations
                  State the term remaining                Terminated
                                                                                      Beckman Coulter, Inc.
             List the contract number of any                                          250 South Brea Boulevard
                   government contract                                                Brea, CA 92822-8000


 2.10.       State what the contract or                   Vehicle Leases
             lease is for and the nature of
             the debtor's interest                                                    Cab East, LLC
                                                                                      c/o Gershman Law Offices
                  State the term remaining                Leases ending               610 York Road, Suite 200
                                                          September 2018              Jenkintown, PA 19046
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 2 of 7
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
          Case 16-18931-mdc                          Doc 156            Filed 02/14/17 Entered 02/14/17 09:17:45                 Desc Main
                                                                       Document      Page 3 of 7
 Debtor 1 North Philadelphia Health System                                                     Case number (if known)   16-18931-mdc
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

             List the contract number of any
                   government contract


 2.11.       State what the contract or                   Agreement for
             lease is for and the nature of               Separation of
             the debtor's interest                        Employment, July 2015,
                                                          former CEO of St.
                                                          Joseph's Hospital;
                                                          payments ceased at
                                                          December 30, 2016
                  State the term remaining                August 2017
                                                                                       Catherine E. Kutzler
             List the contract number of any                                           1416 Pepper Road
                   government contract                                                 Jenkintown, PA 19046


 2.12.       State what the contract or                   Lease of OR equipment
             lease is for and the nature of               at former St. Joseph's
             the debtor's interest                        Hospital

                  State the term remaining                Lease ending January
                                                          2019                         CHG-Meridian USA Corp
             List the contract number of any                                           260 N Charles Lindbergh Drive
                   government contract                                                  NJ 08416


 2.13.       State what the contract or                   Lease of two floors at
             lease is for and the nature of               NPHS Tower Bldg to
             the debtor's interest                        CATCH as tenant

                  State the term remaining                Lease ending October         Citizens Acting Together Can Help, Inc.
                                                          1, 2017                      CATCH
             List the contract number of any                                           1409-11 Lombard St
                   government contract                                                 Philadelphia, PA 19146


 2.14.       State what the contract or                   Various Provider
             lease is for and the nature of               Agreements for the
             the debtor's interest                        GMC Behavioral
                                                          Programs
                  State the term remaining                Ending July 2017             City of Philadelphia
                                                                                       Dept. of Behavioral Health
             List the contract number of any                                           110 Market Street, 10th Floor
                   government contract                                                 Philadelphia, PA 19107


 2.15.       State what the contract or                   Provider agreement for
             lease is for and the nature of               behavioral medical
             the debtor's interest                        services to medicaid
                                                          beneficiaries
                  State the term remaining                Contract ending              Community Behavioral Health
                                                          January 1, 2018              801 Market Street
             List the contract number of any                                           7th Floor
                   government contract                                                 Philadelphia, PA 19107


Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 3 of 7
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
          Case 16-18931-mdc                          Doc 156            Filed 02/14/17 Entered 02/14/17 09:17:45                   Desc Main
                                                                       Document      Page 4 of 7
 Debtor 1 North Philadelphia Health System                                                       Case number (if known)   16-18931-mdc
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.16.       State what the contract or                   Termination of
             lease is for and the nature of               Employment Status
             the debtor's interest                        Agreement for NPHS
                                                          incumbent Chairman at
                                                          December 30, 2016; no
                                                          payments have been
                                                          made.
                  State the term remaining                January 2018
                                                                                         Dominic A. Sabatini
             List the contract number of any                                             7710 Orpheus Place
                   government contract                                                   Philadelphia, PA 19153


 2.17.       State what the contract or                   NPHS employs five
             lease is for and the nature of               psychiatrists under
             the debtor's interest                        annual employment
                                                          agreements
                  State the term remaining                Various Year to Year
                                                                                         Employed Psychiatrist Agreements
             List the contract number of any                                             801 W. Girard Avenue
                   government contract                                                   Philadelphia, PA 19122


 2.18.       State what the contract or                   NPHS maintains
             lease is for and the nature of               agreements with
             the debtor's interest                        Independence Blue
                                                          Cross, Concordia
                                                          United, UNUM and
                                                          other providers and
                                                          service companies for
                                                          employee benefit plans
                  State the term remaining                Month to Month

             List the contract number of any                                             Employee Health Insurance Programs
                   government contract


 2.19.       State what the contract or                   Patient linens and staff
             lease is for and the nature of               scrubs
             the debtor's interest                        provider/laundry
                                                          service
                  State the term remaining                Ending January 2018
                                                                                         FDR Services Corp.
             List the contract number of any                                             44 Newmans Court
                   government contract                                                   Hempstead, NY 11550


 2.20.       State what the contract or                   Executive Employment
             lease is for and the nature of               and Severance
             the debtor's interest                        Agreement for NPHS
                                                          President & CEO
                  State the term remaining                Ending July 2018
                                                                                         George J. Walmsley III
             List the contract number of any                                             29 South Long Point Lane
                   government contract                                                   Rose Valley, PA 19063



Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                          Page 4 of 7
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
          Case 16-18931-mdc                          Doc 156            Filed 02/14/17 Entered 02/14/17 09:17:45                  Desc Main
                                                                       Document      Page 5 of 7
 Debtor 1 North Philadelphia Health System                                                      Case number (if known)   16-18931-mdc
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.21.       State what the contract or                   Agreement for
             lease is for and the nature of               Separation of
             the debtor's interest                        Employment for NPHS
                                                          Chief Financial Officer
                  State the term remaining                March 2019
                                                                                        Margaret A. Boemmel
             List the contract number of any                                            14318 Bensworth Way
                   government contract                                                  Glenelg, MD 21737


 2.22.       State what the contract or                   Billing services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                August to August
                                                          annual term                   Medassets Inc.
             List the contract number of any                                            P.O. Box 405652
                   government contract                                                  Atlanta, GA 30384-5652


 2.23.       State what the contract or                   Electronic Health
             lease is for and the nature of               Records and Integrated
             the debtor's interest                        General Ledger
                                                          Platform System
                  State the term remaining                May 2018                      Medhost
                                                                                        6550 Carothers Pkwy #160
             List the contract number of any                                            Attn: Kenneth D. Misch, CFO
                   government contract                                                  Franklin, TN 37067


 2.24.       State what the contract or                   Mobile x-ray and
             lease is for and the nature of               ultrasound services
             the debtor's interest

                  State the term remaining                Ending June 2018
                                                                                        MobilexUSA
             List the contract number of any                                            101 Rock Road
                   government contract                                                  Horsham, PA 19044


 2.25.       State what the contract or                   Behavioral software
             lease is for and the nature of               systems
             the debtor's interest

                  State the term remaining                Month to Month
                                                                                        Netsmart Technologies, Inc.
             List the contract number of any                                            P.O. Box 823519
                   government contract                                                  Philadelphia, PA 19182-3519


 2.26.       State what the contract or                   Dietary and
             lease is for and the nature of               Housecleaning
             the debtor's interest                        Services for GMC
                                                          patients and facilities
                  State the term remaining                Ending July 2018              Nutrition Management Services
                                                                                        2071 Kimberton Road
             List the contract number of any                                            Kimberton, PA
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                         Page 5 of 7
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
          Case 16-18931-mdc                          Doc 156            Filed 02/14/17 Entered 02/14/17 09:17:45                 Desc Main
                                                                       Document      Page 6 of 7
 Debtor 1 North Philadelphia Health System                                                     Case number (if known)   16-18931-mdc
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.27.       State what the contract or                   Leases for equipment
             lease is for and the nature of               at former St. Joseph's
             the debtor's interest                        Hospital

                  State the term remaining                Ending January 2019
                                                                                       Olympus America, Inc.
             List the contract number of any                                           P.O. Box 120600
                   government contract                                                 Dallas, TX 75312-0600


 2.28.       State what the contract or                   Agreement for City of
             lease is for and the nature of               Philadelphia payment
             the debtor's interest                        for uninsured
                                                          behavioral clients
                  State the term remaining                Ending July 2017             PMHCC, Inc.
                                                                                       123 S. Broad Street
             List the contract number of any                                           23rd Floor
                   government contract                                                 Philadelphia, PA 19109


 2.29.       State what the contract or                   Ambulance and van
             lease is for and the nature of               services to GMC
             the debtor's interest                        behavioral programs

                  State the term remaining                Ending September 2017        Preferred Medical Transport
                                                                                       151 Discovery Drive
             List the contract number of any                                           Suite 108
                   government contract                                                 Colmar, PA 18915


 2.30.       State what the contract or                   Lease of
             lease is for and the nature of               copiers/scanners
             the debtor's interest

                  State the term remaining                Lease ending
                                                          November 2019                Ricoh Americas Corp.
             List the contract number of any                                           P.O. Box 827577
                   government contract                                                 Philadelphia, PA 19182


 2.31.       State what the contract or                   Leases of computer
             lease is for and the nature of               equipment and
             the debtor's interest                        software

                  State the term remaining                Lease ending March           Royal Bank America Leasing L.P.
                                                          2020                         550 Township Line Road, Suite 425
             List the contract number of any                                           Attn: Keith A. Brinks, Managing Partner
                   government contract                                                 Blue Bell, PA 19422


 2.32.       State what the contract or                   Bio-waste disposal
             lease is for and the nature of               service agreement            Stericycle
             the debtor's interest                                                     2850 100th Court NE
                                                                                       Carol Stream, IL 60197
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 6 of 7
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
          Case 16-18931-mdc                          Doc 156            Filed 02/14/17 Entered 02/14/17 09:17:45                  Desc Main
                                                                       Document      Page 7 of 7
 Debtor 1 North Philadelphia Health System                                                      Case number (if known)   16-18931-mdc
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                  State the term remaining                Ending October 2017

             List the contract number of any
                   government contract


 2.33.       State what the contract or                   Leases for NPHS
             lease is for and the nature of               facilities services
             the debtor's interest                        pickup trucks, security
                                                          guard vehicles, patient
                                                          vans and other cars
                  State the term remaining                Various Terms

             List the contract number of any                                            Vehicle Leases
                   government contract


 2.34.       State what the contract or                   Phone system services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Ending October 2019
                                                                                        Verizon Business Network Systems, Inc.
             List the contract number of any                                            One Verizon Way
                   government contract                                                  Basking Ridge, NJ 07920


 2.35.       State what the contract or                   Fire protection system
             lease is for and the nature of               inspection and
             the debtor's interest                        maintenance services

                  State the term remaining                Ending January 2020
                                                                                        Wayman Fire Protection, Inc.
             List the contract number of any                                            403 Meco Drive
                   government contract                                                  Wilmington, DE 19804




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                         Page 7 of 7
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
